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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 Northern Division

ANDREA CLARK,                             :
                                          :
                          Plaintiff,      :
                                          :
v.                                        : Civil Action No. 1:21-cv-2420-SAG
                                          :
TRANS UNION, LLC, et al.,                 :
                                          :
                          Defendants.     :
__________________________________________:

                                NOTICE OF SETTLEMENT

       Plaintiff, Andrea Clark, by counsel, hereby notifies the Court that she has reached a

settlement with Defendant, Trans Union, LLC (“Trans Union”) in this case and is presently

working with Trans Union to finalize the settlement agreement. Within thirty (30) days or such

other time period ordered by the Court, the parties shall submit a Stipulation of Dismissal or

Dismissal Order for entry by the Court.

                                           Respectfully submitted,
                                           PLAINTIFF


                                           By:      /s/ Kristi C. Kelly
                                           Kristi Cahoon Kelly, Bar No. 07244
                                           J. Patrick McNichol, Bar No. 19034
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